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                                                May 8, 2012

John H. Stewart
President and Chief Executive Officer
Purdue Pharma L.P.
One Stamford Forum
201 Tresser Boulevard
Stamford, Connecticut 06901-3431

Dear Mr. Stewart:

        As Chairman and a senior member of the Senate Finance Committee, we have a
responsibility to the more than 100 million Americans who receive health care under Medicare,
Medicaid, and CHIP. As part of that responsibility, this Committee has investigated the
marketing practices of pharmaceutical and medical device companies as well as their
relationships with physicians and non-profit medical organizations.

        It is clear that the United States is suffering from an epidemic of accidental deaths and
addiction resulting from the increased sale and use of powerful narcotic painkillers. According
to CDC data, “more than 40% (14,800)” of the “36,500 drug poisoning deaths in 2008” were
related to opioid-based prescription painkillers.1 Deaths from these drugs rose more rapidly,
“from about 4,000 to 14,800” between 1999 and 2008, than any other class of drugs,2 killing
more people than heroin and cocaine combined.3 More people in the United States now die from
drugs than car accidents as a result of this new epidemic.4 Additionally, the CDC reports that
improper “use of prescription painkillers costs health insurers up to $72.5 billion annually in
direct health care costs.”5

        In Montana, prescription drug abuse is characterized by the state’s Department of Justice
as an “invisible epidemic” killing at least 300 people per year and contributing to increases in
1
  Center for Disease Control, “Drug Poisoning Deaths in the United States, 1980-2008, NCHS Data Brief, No. 81,
December 2011 at http://www.cdc.gov/nchs/data/databriefs/db81.pdf.
2
  Id.
3
  CDC Press Release, “Prescription painkiller overdoses at epidemic levels,” November 1, 2011 at
http://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
4
  LA Times, “Drug deaths now outnumber traffic fatalities in U.S., data show,” September 17. 2011 at
http://articles.latimes.com/2011/sep/17/local/la-me-drugs-epidemic-20110918.
5
  International Business Times, “Prescription Painkiller Overdoses Cost Insurers $72.5 Billion Yearly: CDC,”
November 3, 2011 at http://www.ibtimes.com/articles/242437/20111103/prescription-painkiller-overdoses-cost-
insurers-72-5.htm.
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addiction and crime.6 The University of Montana Bureau of Business and Economic Research
estimated that prescription drug abuse is costing the state $20 million annually in additional law
enforcement, social services, and lost productivity.7

        In Iowa, “the use of opioid painkillers such as hydrocodone and oxycodone has increased
dramatically in the last decade,” according to the Governor’s Office of Drug Control Policy.
Annual overdose deaths from opioids “increased more than 1,233% from 3 deaths in 2000 to 40
deaths in 2009.”8 Data from Iowa’s prescription drug monitoring program demonstrates that in
2010, 89,500,000 doses of hydrocodone and oxycodone were prescribed totaling nearly 40% of
all controlled substance prescriptions.9

        Concurrent with the growing epidemic, the New York Times reports that, based on federal
data, “over the last decade, the number of prescriptions for the strongest opioids has increased
nearly fourfold, with only limited evidence of their long-term effectiveness or risks” while
“[d]ata suggest that hundreds of thousands of patients nationwide may be on potentially
dangerous doses.”10

        There is growing evidence pharmaceutical companies that manufacture and market
opioids may be responsible, at least in part, for this epidemic by promoting misleading
information about the drugs’ safety and effectiveness. In 2007, top executives from Purdue
Pharma, the original manufacturer of OxyContin, one of the most notorious and heavily abused
painkillers, “pleaded guilty…in federal court to criminal charges that they misled regulators,
doctors and patients about the drug’s risk of addiction and its potential to be abused.”11

       In addition to illegal off-label marketing, which has been prevalent in the pharmaceutical
and medical device industries, drug and device companies have been found to engage in
marketing, regulatory, and public relations activities through supposedly independent medical
organizations financed by industry.12 Recent investigative reporting from the Milwaukee Journal
Sentinel/MedPage Today and ProPublica revealed extensive ties between companies that
manufacture and market opioids and non-profit organizations such as the American Pain
Foundation, the American Pain Society, the American Academy of Pain Medicine, the
Federation of State Medical Boards, and the University of Wisconsin Pain and Policy Study
Group.


6
  See the Montana Department of Justice website at http://doj.mt.gov/prescriptionabuse/.
7
  Bureau of Business and Economic Research, “The Economic Cost of Prescription Drug Abuse in Montana”, June
2011 at http://mbcc.mt.gov/PlanProj/Projects/PDMP/Prescription%20Drug%20Abuse%2020110629.pdf.
8
  Iowa Governor’s Office of Drug Control Policy, “Iowa Drug Control Strategy: 2012,” November 1, 2011 at
http://www.iowa.gov/odcp/drug_control_strategy/Strategy2012.Final.pdf
9
  Id.
10
   NY Times, “Tightening the Lid on Pain Prescriptions,” April 8, 2012 at
http://www.nytimes.com/2012/04/09/health/opioid-painkiller-prescriptions-pose-danger-without-oversight.html.
11
   NY Times, “In Guilty Plea, OxyContin Maker to Pay $600 Million,” May 11, 2007 at
http://www.nytimes.com/2007/05/11/business/11drug-web.html.
12
   See Senate Finance Committee, “Staff Report on Sanofi’s Strategic Use Of Third Parties to Influence the FDA,” at
http://finance.senate.gov/newsroom/chairman/download/?id=69451e85-4d4c-403b-93e0-2d5e7b4010be;
ProPublica, “Financial Ties Bind Medical Societies to Drug and Device Makers,” May 5, 2011 at
http://www.propublica.org/article/medical-societies-and-financial-ties-to-drug-and-device-makers-industry; and
NYTimes OpEd, “Cleaning Up Medical Advice,” April 30, 2010 at
http://www.nytimes.com/2010/05/01/opinion/01sat3.html.
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        According to the Milwaukee Journal Sentinel/MedPage Today, a “network of national
organizations and researchers with financial connections to the makers of narcotic
painkillers…helped create a body of dubious information” favoring opioids “that can be found in
prescribing guidelines, patient literature, position statements, books and doctor education
courses.”13 For example, the Sentinel reported that the Federation of State Medical Boards, with
financial support from opioid manufacturers, distributed more than 160,000 copies of a model
policy book that drew criticism from doctors because “it failed to point out the lack of science
supporting the use of opioids for chronic, non cancer pain.”14

        In a ProPublica story published in the Washington Post, the watchdog organization
examined the American Pain Foundation, a “health advocacy” organization that received “nearly
90 percent of its $5 million funding from the drug and medical device industry.” 15 ProPublica
wrote that its review of the American Pain Foundation’s “guides for patients, journalists, and
policymakers play down the risks associated with opioids and exaggerate their benefits. Some of
the foundation’s materials on the drugs include statements that are misleading or based on scant
or disputed research.”16

         In 2003, a GAO report pointed to Purdue’s partnership with the Joint Commission on
Accreditation of Healthcare Organization (JCAHO) as possible means for Purdue to have
“facilitated its access to hospitals to promote OxyContin.”17 The report revealed that Purdue
“funded over 20,000 pain-related educational programs through direct sponsorship or financial
grants” in addition to funding the Joint Commission on Accreditation of Healthcare
Organization’s (JCAHO) pain management programs.18

        Although it is critical that patients continue to have access to opioids to treat serious pain,
pharmaceutical companies and health care organizations must distribute accurate information
about these drugs in order to prevent improper use and diversion to drug abusers.

       As part of our effort to understand the relationship between opioid manufacturers and
non-profit health care organizations, please provide the following information:

        1) Provide a detailed account of all payments from 1997 to the present between Purdue
           and the following organizations in table format:

                 a. Organizations
                        i. The American Pain Foundation
                       ii. The American Academy of Pain Medicine
                      iii. The American Pain Society
                      iv. The American Geriatric Society

13
   Milwaukee Journal Sentinel/MedPage Today, “Follow the Money: Pain, Policy, and Profit,” February 19, 2012 at
http://www.medpagetoday.com/Neurology/PainManagement/31256.
14
   Id.
15
   ProPublica, “The Champion of Painkillers,” December 23, 2011 at http://www.propublica.org/article/the-
champion-of-painkillers.
16
   Id.
17
   GAO, “OxyContin Abuse and Diversion and Efforts to Address the Problem,” December 2003 at
http://www.gao.gov/new.items/d04110.pdf.
18
   Id.
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                    v.  The Wisconsin Pain and Policy Study Group
                   vi.  The Alliance of State Pain Initiatives
                  vii.  The Center for Practical Bioethics
                 viii.  Beth Israel Medical Center, Department of Pain Medicine and
                        Palliative Care
                   ix. The Joint Commission (and all related entities)
                    x. The Federation of State Medical Boards
            b. Individuals
                     i. Russell K. Portenoy, M.D. – Chairman, Department of Pain Medicine
                        And Palliative Care at Beth Israel Medical Center
                    ii. Scott M. Fishman, M.D. – Chief, Department of Pain Medicine,
                        University of California, Davis
                  iii. Perry G. Fine, M.D. - Professor of Anesthesiology, Pain Research
                        Center, University of Utah School of Medicine
                   iv. Lynn R. Webster, M.D., F.A.C.P.M., F.A.S.A.M. – Medical Director
                        and Founder, Lifetree Clinical Research & Pain Clinic
                    v. Rollin M. Gallagher, M.D., M.P.H. – Director of Pain Management,
                        Philadelphia Veteran Affairs Medical Center
                   vi. Bill McCarber, M.D. – Founder of the Chronic Pain Management
                        Program for Kaiser Permanente in San Diego, CA
                  vii. Martin Grabois, M.D. – President, American Academy of Pain
                        Medicine
                 viii. Myra Christopher – Kathleen M. Foley Chair for Pain and Palliative
                        Care, Center for Practical Bioethics
            c. For each organization or individual identified in 1(a) and 1(b), provide:
                     i. Date of payment.
                    ii. Payment description (CME, royalty, honorarium, research support,
                        etc.).
                  iii. Amount of payment.
                   iv. Year-end or year-to-date payment total and cumulative total payments
                        for each organization or individual.

     2) All documents and communications from 2004 to the present pertaining to the book,
        “Responsible Opioid Prescribing: A Physician's Guide,” distributed by the Federation
        of State Medical Boards.
            a. Provide the names, titles, and job descriptions of all employees who
                collaborated with the Federation of State Medical Boards, Dr. Scott Fishman,
                or third-party contractors on the development of this book.
            b. For each employee identified in 2(a), provide a summary of the work
                performed pertaining to the book.
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           3) All documents and communications from 2007 to the present pertaining to the
              development or changes to JCAHO’s19 pain management standards, including but not
              limited to communications with the American Pain Society and other organizations
              involved in developing JCAHO pain management standards.

           4) All documents and communications from 2007 to the present pertaining to the
              development or changes to The American Pain Society’s pain guidelines.

           5) All documents and communications from 2004 to the present pertaining to the
              American Pain Foundation’s Military/Veterans Pain Initiative.

           6) All documents and communications from 2007 to the present pertaining to any
              policies, guidelines, press releases and/or position papers distributed by the American
              Pain Foundation.

           7) All presentations, reports, and communications to Purdue’s management team or
              board of directors from 2007 to the present pertaining to the funding of and/or
              collaborations with of any of the organizations or individuals specified in request 1(a)
              or 1(b).

       In cooperating with the Committee’s review, no documents, records, data, or other
information related to these matters, either directly or indirectly, shall be destroyed, modified,
removed, or otherwise made inaccessible to the Committee.

       We look forward to hearing from you by no later than June 8, 2012. All documents
responsive to this request should be sent electronically, on a disc, in searchable PDF format to
my staff. If you have any questions, please do not hesitate to contact Christopher Law with
Senator Baucus at (202) 224-4515 or Erika Smith with Senator Grassley at (202) 224-5225.


                                                     Sincerely,




                     Charles E. Grassley                                Max Baucus
                        Senator                                          Chairman




19
     All requests pertaining to JCAHO include related organizations such as the “Joint Commission Resources.”
